     Case 2:18-cr-00014-LGW-BWC Document 529 Filed 12/19/18 Page 1 of 1
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                                                               U.S. DISTRICT COURT
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                      UNITED STATES DISTRICT COURT

                     SOUTHERN DISTRICT OF GEORGI^^^^^gy-
                             BRUNSWICK DIVISION



UNITED STATES

                                               2:18CR00014

V.




KENNETH LEON BRADLEY

                                      ORDER


        Defendant filed a Motion for Leave for Extension of Time to File a

Response to the Proposed Presentence Report whereby Defendant seeks a thirty

(30)day extension.

        Defendant's Motion is hereby GRANTED.

        Defendant by and through his attorney shall have until January 17th, 2019 to

file any response or objections to the proposed presentence report.

        SO ORDERED this           day of T)i



                                             JHE^ON.LISA GODBEY WOOD
                                                  RICT COURT JUDGE
                                               SOUTHERN DISTRICT GEORGIA
